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Cherron Marie Phillips MAR 03 2017 aw
FCI Waseca #45209-424

P.O. Box 1731 THOMAS G. BRUTON
Waseca MN 56093 CLERK, U.S. DISTRICT COURT

UNITED STATES DISTRICT COURT NORTHERN DISTRICT ILLINOIS

Cherron Marie Phillips

Petitioner Case No. 17 ev 1169

v. ; re: 12 cr 872

UNITED STATES OF AMERICA 1:17-cv-01338
Respondents

Amended Petition

Under FRCivP. Rule 15(a), a party may amend its pleading once as a matter
of course within 21 days after service. Petitioner, Cherron Marie Phillips,
hereinafter Phillips approach this court with a duly affirmed amended petition
to vacate the sentence imposed by this court based on the fact that the
indictment fails to charge an offense against the United States. Collateral
relief is available under 28 USC §2255 if any legal error is jurisdictional,
constitutional, or is a fundamental defect which results in a miscarriage of
justice. Hill v United States 368 US 424 (1962). |

Factual Background

By reason of vagueness and uncertainty, a statute of the United States
Code, Title 18 USC §1521 is repugnant to the due process clause of the Fifth
Amendment. It states as follows: "Whoever files, attempts to file, or conspires
to file, in any public record or in any private record which is generally
available to the public, any false lien or encumbrance against the real or
personal property of an individual described in Section 1114 [18 USC §1114]j on
account of the performance of official duties by that individual, knowing or
having reason to know that such lien or encumbrance is false or contains any
materially false, ficticious or fraudulent statement or representation, shall
be fined under this titie or imprisoned for not more than 10 years or both.

On NOvember 9, 2012, Phillips was accused of violating the quoted clause
 

 

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by the UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF ILLINOIS. The indictment
followed the language of the statute as stated in its generic terms. There were
no facts stated other than the words of the statute itself. In an indictment

upon a statute, it is not sufficient to set forth the otfense in the words of

the statute unless these words of themselves fully, directly and -exicessly,
without any uncertainty or ambiguity set forth all the elements necessary to
constitute the offense intended to be punished. United States v Carll 105 US 611,
612 (1882).

On the authority of the recent decision in the UNITED STATES DISTRICY COURT
Eighth Circuit case, United States v. Reed 668 F.3d 978 (2012), Phillips was
charged by this statute. This case was the first appeal of a conviction under
Title 18 USC §1521. There is no allegation in the indictment alleging any intent
to retaliate against any person or legal entity known to the law, but merely a
blanket charge of general and unidentified intent to retaliate against some
person or legal entity who is no way mentioned. The failure to specify some
person or legal entity as the object of retaiiation amounts to a violation of
Phillips's right to due process of law as guaranteed by the Fifth Amendment.
This omission is violative of that portion of the Sixth Amendment to the United
States Constitution which provides the accused shail have the right to be
informed of the nature of the accusation made against him. An indictment not
framed to apprise the defendant “with reasonable certainty, of the nature of
the accusation against him''is defective, although it may follow the language of
the statute. United States v Simmons 96 US 360, 362 (1878).

Argument

Federal Rules of Criminal Procedure Rule &(c) requires that an indictment
contain "plain concise and definitive written statement of the essential facts
constituting the offense charged."' FRCrP 7(c). "[AJn indictment is sufficient
if it first, contains the elements of the offense charged and fairly informs a

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defendant of the charge against which he must defend" and second, "enables him
to assert double jeopardy in defense of future prosecution for the same conduct."
Hamling v United States 418 US 87, 117 (1947). To accomplish this, “the indictment
must allege" not only "the elements of the offense charged," but also “the fact
which informs the defendant of the specific offenses with whicn he is charged."
United States v Lane 765 F.2d 1378, 1380 (9th Cir 1985)(failure to allege elements
of offense “renders the indictment constitutionally defective")

The applicable rule as seated in Connally v General Const. Co. 269 US 385,
381 (1926): "that the terms of a penal statute creating a new offense must be
sufficiently explicit to inform those who are subject to it what conduct on their
part will render them liable to its penalties, is a well-recognized requirement
consonant alike with ordinary notions of fair play and the settled elles of law.
And a statute which either forbids or requires the doing of an act in terms so
vague that men of common intelligence must necessarily guess at its meaning and
differ as to its application, violates the First essential of due process law."

Ls

On the face of the statute, it might appear that the mens rea element of
the offense could either be subjective or objective. That a defendant could
be convicted upon" knowing'' (subjective) or upon a reasonable person should have
known "having reason to know'' (objective) that such lien or encumbrance is
false or contains materially false, ficticious, or fraudulent statements. It
is ambiguous. There immediately raises the doubt whether actual or putative
knowledge is meant. If actual knowledge is required, that status must be
established as a fact, if reputed knowledge is enough, there is uncertainty as
to what has been percieved, discovered or iearned to infer "having reason to
know".

This court has interpreted the "having reason to know’ as “akin to actual

knowledge”. United States v Saffo 227 F.3d 1260, 1269, (10th Cir 2000). In order

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to convict in this case, the prosecution had to offer evidence sufficient to
aliow the jury to infer that Phillips had actual knowledge, or something close
to it that the notice of claim of lien was false.
The government offered no direct evidence regarding Phillips subjective
state of knowledge as to the falsity of the liens. The indictment never stated
that Phillips knew or had reason to know her notice of claim of liens were false
as stated in statute 18 USC §1521. Phillips was convicted by the jury under
instructions which required them to be satisfied of the facts alleged and that
the, then defendant, at the time of the filings, knew such claims to be false
or fraudulent. This indictment, by omitting the aliegation or fact, that the
defendant “knew or had reason to know" the filings were false, fails to charge
her with a crime. "Where guilt depends so crucially upon a specific identification
of fact, the Supreme Court uniformly held that an indictment must do more than
simply repeat the language of the criminal statute.''Russell v United States 369
US 749, 764-766; 320 F.2d 187 Lauer v United States (7th Cir. 1963)
If the mere filing itself. make the act criminal under federal law, it is
not a criminal act by this State. A prior ruling in che Seventh Circuit held a
lien claimant is entitled to give notice of his lien or claim by recording the
same. It was stated in Torrington Co. w Sidway-Topliff Co. ‘70 F.2d 949 (7th Cir
1934), "a lien claimant is entitled to give notice of his iien or claim by
recording the same but the validity. existence and enforceability of such lien
can only be adjudicated by courts of law for the determination and foreclosure
thereof on the real estate. Benefit of notice of lien is lost umiess suit is
filed within one year.
Phillips was criminally prosecuted on the notice of claim of lien without
a hearing on its validity, existence and enforceability in a court of law.
Phillips filing of the notice of claim of lien was clearly an established
right prior to the commencement of the indictment.

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The statute does not define the terms ‘‘real or personal property" as used
in the statute. Nor does Chapter 73 of Titie 18, where §1521 is located include
a definition section for these terms. Similarly there is no guiding preamble,
recital or purpose clause. The statute‘s title and heading simply signals that
the statute punishes retaliation against federal employees. Yet there is no
allegation in the indictment alleging any intent to retaliate against any person
or legai entity known to the law, but merely a blanket charge of general and
unidentified intent to retaliate against some person or legal entity who is no
way mentioned.

The statute focuses on the filing of false liens or encumbrances against
the reai or personal property of federal officials but not all false liens or
encumbrances that might harass government agencies or officiais. ‘The statute
does not attempt to distinguish or identify which false liens or encumbrances
it will penaiize. This too is ambiguous. The description and illustrations used
by the court to indicate the "types of filings that harass" are not sufficient
to constitute definitions inclusive or exclusive.

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Phillips maintains that the charge in.this case is unconstitutional.
Federal courts may have the power to create federal comnon law applicable to
a substantial federal interest, however the United States Constitution prescribes
what the jurisdiction of the federal government is by the enumerated powers at
Articie 1 §8 ci. 18. ‘That government can reguiate foreign and interstate
commerce, fix the standards of weights and measurements, establish rules of
naturalizatioa, establish uniform laws on bankruptcies, coin. money and provide
for thie punishment of counterfeiting of the coins and securities of the United
States, protect the arts and sciences by copyrights and patents, punish for
piracies and feionies commited on the high seas, aise and support an army
and navy, and lay and coliect direct taxes by apportionment, and indirect taxes

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by excises, duties or impost.

This is about the extent of the jurisdiction of the United States government.
lt is only in these areas that a "crime (or offense) against the United States"
can exist, and this is so only when Congress actually passes a law in one of
these areas.

In this case, the governments witnesss offered testimony that his parcel
of real estate (parking garage space) sold by his personai realtor contained a
notice of claim filed by Phillips. The tiling of notice of claim of lien on real
estate for private use is not an enumerated power identified as a "crime (or
offense) against the United States'’. Article 1 §8 cl. i8. The Supreme Gourt stated
in Erie R.Co. v Tompkins 304 US 64 (1937), Congress has no power to declare
substantive rules of common law applicable in a state whether they be local in
there nature or "general be they commercial law or part of the law of torts.

And no clause in the Constitution purports to confer such a power upon the
federal courts. The Supreme Court also decided in civil matters where general
common law. rights of an individual are concerned, the federal courts are to
apply the common law of the state in which the controversy originated.

for example in United States. v Fox 94 US 315, 320 (1877), the Supreme Court
held that state law eoverned the bequest of real estate to the United States
because the "disposition of immovable property, whether by deed, descent or
any other mode, is exclusively subiect to the government within whose jurisdiction
the property is situated". Ttie real estate offered in testimony by the government
witness is of permanent locality, local jurisdiction where local statutes ofc
that state would apply.

III.

Phillips did not waive the right to-iegai notice of this statute before it
was enforced against her- The tederai government established the Federal Register

in which documents having "'yeneral applicability and legal effect'' including

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"every document or order which prescribes penalty" must be published. Congress
has provided that proper publication in the Federal Register shall act as legal
notice to all those affected by the regulation. Federal Grop Ins- Crop v Merrill
332 US 380 (1947).

‘There is no evidence that Title 18 USC §1521 complies with the Federal
Register requirements as having "general:appiicability and legal effect" making
the judgment of conviction and sentence null and void. Criminal statutes which
fail to give due notice that an act has been made criminal before its done are
unconstitutional deprevations of due process of law. Lanzetta v State of New
Jersey 306 US 451 (1939).

Phillips did not waive the constitutional defects of the penal statute
in the indictment. The record of the case wili show on July 25, 2013, Phillips
filed a motion to dismiss the indictment stating the charges were unconstitutional.
FRCrP 12(b)(3)(B) allows a motion to object to the indictment prior to trial
where the motion can be determined without a trial. The record of this case
shows there was no ruling on this motion.

On June 5, 2014, Phillips filed an interlocutory appeal #14-2264 to
vindicate her right not to be tried on the matter. ‘fhe Supreme Court recognized
an exception to the finality requirement which allowed appeais from decisions
that fall into that smail class which finally determines claims of right
separable from, and collateral to rights asserted in the action, too imporzant
to be denied review and too independant of the cause itself to require that
appellate consideration be deferred until the whole case is adjudicated.

Cohen v Beneficial Indust- Loan Corp 337 US 541, 546 (1949).

Un June 18, 2014, Phillips was convicted in violation of 18 USC 81521.
Phillips was twiced prejudiced ty the court when the judge made light of her
filing the interlocutory appeal as grounds for her to be detained and referred
to her as a "paper terrorist" for filing the appeal. The transcript from

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this hearing will show the court ruled Phillips to be a danger to the community
based on the filing of the appeal and a complaint to further protest the court
proceedings. His determination to deny bail did not fall under the criteria as
a danger to the community as cited under Federal Rules of Appellate Proc. FRAP

9(c) and Release for Bail under 18 USC §3143(a). 2 - o- -

Iv.

The lack of certainty of the chalienged act is not limited to "any faise
iien or encumbrance against the real or.personal property of federal officiais."
Consistent with the text of the statute, the challenged mens rea incorporates
both subjective and obiective considerations. |The defendant | ‘knowing’ or having
reason to know that such lien or encombrance is false or contains any materially
false, ficticious or fraudulent statements". is ambiguous. If actual knowledge
or having reason to know is required each status must be established as a fact.

If the mere filing itself creates guilt, the Seventh Circuit has established
a lien claimant is entitled to give notice by filing the same and thai its
validity, existence and enforceability of such lien can only be adjudicated
by a court of law. Phillips was entitled to a hearing on the Liens alone. The
mere filing of tne notice of claim of lien is not a criminal act-.in Illinois.

Section i521 does not define the terms "real or personal property'' as used
in the statute. Nor does the case United States v Reed 668 F.3d 978 (2012)
define those terms or refer to any laws in the state of North Dakota. The
common law so far as it is enforced in a state whether called common law or
not, is not the comnon law in generai but the law of that state, existing by
the authority of that state witnout regard to what it may have been in England
or anywhere else..., “the authocity and only authority is the state, and if that
be so, the voice adopted by the state as its own |whether it be the legislature

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or the Supreme Court] should utter the last word." Erie R.R. v Tompkins 304
US 64; In re Iowa R. Co. 840 F.2 535 (7th Cir 1987)

Where an indictment charges no crime, the court lacks jurisdiction to
try the accused, a motion to quash the indictment is -always:timely.-22-Corpus -
Juris Secundum. "Criminal Law'' §i57, p 188; citing People v McCarty 445 N.E.
2d 298; 94 Ill. 2d 28.

WHEREFORE, Phillips moves this court for an order reversing the conviction
as unsupported by sufficient evidence to criminally charge in tne indictment
and an order fer immediate release on personai recognizance pending the courts

decision on the pending motion-° -

Verification

1 Gnerron Marie Phillips declare under penalty of perjury under the laws
of the United States of America that I have first hand knowledge hereto and to

the best of my knowledge and belief all matters are true and correct. Executed

this February 27. 2017. 5 #
D
MULE
wy: Lenten Warr CML gf?

Cherron Marie Phillips
All Rights Reserved
Acknowledgement
On this date in Waseca Minnesota. Cherron Marie Phillips who is known and

identified to me, appeared and executed the foregoing of her own free will
duly affirmed under penalty of perjury. Done this 27th day of February 2017
cy SARAH ANNE WHITESITT FCl Waseca Staff SA
Be Notary Public-Minnesota

¥ My Commission Expires Jan 31, 2020

 

     

 

Certificate of Service

This is to certify that I nave served a true and correct copy of the foregoing
Amended Petition to the following addresses by placing the same in a sealed
envelope bearing sufficient postage for delivery via United States Postal Service

by legal mail provided at FCI Waseca on February 277th 2017. ~- 7, C io 7?
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UNITED STATES DISTRICI COURT Nathan D Stump AUSA

219 S Dearborn 20th Floor 9 Executive Drive

Attn Clerk of Court Fairview Heights IL 62208

Chicago iL 60604
 

  

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Clerk Of Court

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